Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 1 of 8 PageID 624



                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



   ISIKEL RAMIREZ,

         Petitioner,

   v.                                                   CASE NO. 8:04-CV-906-T-30EAJ
                                                                 8:01-CR-443-T-30EAJ
   UNITED STATES OF AMERICA,

        Respondent.
   ______________________________/

                                           ORDER

         Petitioner, an inmate in the federal penal system proceeding pro se, initiated this

   action by filing a motion to vacate, set aside, or correct his sentence under 28 U.S.C. §

   2255 (CV Dkt. 1). The Government has filed a response to the motion (CV Dkt. 4), and

   Petitioner has filed a reply thereto (CV Dkt. 7). The matter is now before the Court for

   consideration on the merits.

                                         Background

         On May 30, 2002, Petitioner pled guilty pursuant to a negotiated plea agreement

   (CR Dkt. 232) to one count of conspiracy to possess with intent to distribute 500 grams or

   more of methamphetamine, in violation of 18 U.S.C. §§ 841(a)(1), 841(b(1)(B)(viii), and 846

   (CR Dkt. 258). In his plea agreement, Petitioner expressly waived his right to appeal his

   sentence:

         . . . directly or collaterally on any ground, including the applicability of the
         “safety valve” provisions contained in 18 U.S.C. § 3553(f) and U.S.S.G. §
         5C1.2, except for an upward departure by the sentencing judge, a sentence
         above the statutory maximum, or a sentence in violation of the law apart from
         the sentencing guidelines; provided, however, that if the government
         exercises its right to appeal the sentence imposed, as authorized by 18
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 2 of 8 PageID 625



          U.S.C. § 3742(b), the defendant is released from this waiver and may appeal
          the sentence as authorized by 18 U.S.C. § 3742(a).

   CR Dkt. 232 at 12. The Petitioner’s guilty plea was accepted on June 26, 2002 (CR Dkt.

   291), and he was adjudicated guilty. Petitioner was sentenced on October 16, 2002, to a

   262-month term of imprisonment, to be followed by a 60-month term of supervised release.

   Petitioner’s judgment of conviction was entered on October 17, 2002 (CR Dkt. 360).

   Finding Petitioner’s appeal waiver valid, the appellate court dismissed Petitioner’s direct

   appeal on June 4, 2003 (CR Dkt. 422). See United States v. Ramirez, Case No. 02-15994-

   F (11th Cir. 2003).

          On April 22, 2004, Petitioner timely filed this § 2255 motion asserting the following

   claims for relief:

          1.   Petitioner’s guilty plea is invalid because he was never informed what was it
               meant to be part of a conspiracy;

          2.   The court failed to warn Petitioner that his guilty plea would not be withdrawn
               if the Court refused to impose the sentence bargained for in the plea
               agreement;

          3.   The government breached the plea agreement when it agreed to recommend
               a base offense level of 32, knowing that the Petitioner’s prior convictions would
               make such a recommendation invalid; and

          4.   Petitioner’s Sixth Amendment right to effective assistance of counsel was
               violated when trial counsel:

               a.   failed to raise the aforementioned grounds on direct appeal;

               b.   failed to properly assess the facts of the case and familiarize himself with
                    the law prior to making his recommendation to the Petitioner to enter into
                    the plea agreement;

               c.   enticed the Petitioner to enter his guilty plea when no factual basis existed
                    with respect to the drug quantity;

               d.   failed to remind the Court to make specific finding of the drug amount
                    attributable to Petitioner;


                                                 2
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 3 of 8 PageID 626



                e.   failed to advise Petitioner prior to entering into his plea agreement that he
                     was facing a mandatory minimum based on his prior convictions which
                     would increase his base offense level from 32 to 37;

                f.   failed to secure a lower drug amount attributable to the petitioner; and

                g.   led the petitioner to believe he was agreeing in his plea agreement to a
                     base offense level of 32.

   CV Dkt. 1. In response to the Petition, the Government asserts that because Petitioner

   waived his right to appeal, directly or collaterally, in his plea agreement, his § 2255 motion

   should be denied (CV Dkt. 4). For the reasons set forth below, this Court agrees.

                                        Standard of Review

            Title 28 U.S.C. § 2255 sets forth the framework for reviewing a federal prisoner's

   sentence for any of the following four reasons: (1) the sentence was imposed in violation

   of the Constitution of the United States; (2) the court was without jurisdiction to impose

   such a sentence; (3) the sentence was in excess of the maximum authorized by law; or (4)

   the sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. Case law

   establishes that only constitutional claims, jurisdictional claims, and claims of error so

   fundamental as to have resulted in a complete miscarriage of justice are cognizable on

   collateral attack. See United States v. Addonizio, 442 U.S. 178, 185 (1979); Hill v. United

   States, 368 U.S. 424, 428 (1962); Richards v. United States, 837 F.2d 965, 966 (11th Cir.

   1988).

            It is well-settled that sentence-appeal waivers are valid if made knowingly and

   voluntarily. See United States v. Bushert, 997 F.2d 1343, 1350-51 (11th Cir. 1993). Guilty

   pleas waive all but jurisdictional claims up to the time of the plea, see Tollett v. Henderson,

   411 U.S. 258, 266-67 (1973); Stano v. Dugger, 921 F.2d 1125, 1150 (11th Cir.), cert.

   denied, 502 U.S. 835 (1991), and foreclose most claims from collateral attack, see United


                                                  3
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 4 of 8 PageID 627



   States v. Broce, 488 U.S. 563, 569 (1989). This waiver includes constitutional claims. See

   Wilson v. United States, 962 F.2d 996 (11th Cir. 1992) (pre-plea ineffectiveness waived);

   Dermota v. United States, 895 F.2d 1324 (11th Cir.) (double jeopardy claim waived), cert.

   denied, 498 U.S. 837 (1990). Finding that “a valid sentence-appeal waiver, entered into

   voluntarily and knowingly, pursuant to a plea agreement, precludes the defendant from

   attempting to attack, in a collateral proceeding, the sentence through a claim of ineffective

   assistance of counsel during sentencing” the Eleventh Circuit opined that to hold otherwise

   would “permit a defendant to circumvent the terms of the sentence-appeal waiver simply

   by recasting a challenge to his sentence as a claim of ineffective assistance, thus rendering

   the waiver meaningless.” Williams v. United States, 396 F.3d 1340, 1342 (11th Cir. 2005).

                                            Discussion

          The crux of Petitioner’s complaint is that the sentence he received was greater than

   he expected to receive when he signed the plea agreement. When Petitioner executed his

   plea agreement, he waived all but jurisdictional claims up to the time of the plea. See Tollett

   v. Henderson, 411 U.S. at 266-67. As set forth supra, pursuant to the plea agreement

   Petitioner executed, he waived his right to appeal, directly or collaterally, any factual or

   legal finding made by the Court in calculating the appropriate guideline range, unless the

   Court upwardly departed or the Government appealed. The waiver includes claims of

   ineffective assistance of counsel at sentencing. See Williams, 396 F.3d at 1342.

          Petitioner negotiated an agreement with the Government regarding the disposition

   of his criminal charges and entered a guilty plea pursuant thereto (CR Dkt. 232). A guilty

   plea is not “a mere gesture, a temporary and meaningless formality reversible at the

   defendant's whim. . . , but a ‘grave and solemn act,’ which is ‘accepted only with care and

   discernment.’" United States v. Hyde, 520 U.S. 670, 677 (1997) (citation omitted). In this

                                                  4
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 5 of 8 PageID 628



   circuit, "[a] plea agreement is, in essence, a contract between the Government and a

   criminal defendant. Among the considerations that a defendant may offer as part of such

   a contract is waiver of his right to appeal, provided that the waiver is made knowingly and

   voluntarily. . . . [t]he plea agreement is . . . enforceable." United States v. Howle, 166 F.3d

   1166, 1168 (11th Cir. 1999) (emphasis added; citation omitted). See also United States

   v. Pease, 240 F.3d 938 (11th Cir. 2001).

           In the plea agreement, Petitioner was placed on notice that the drug charge to which

   he agreed to plead guilty1 carried a mandatory minimum sentence of ten (10) years

   imprisonment, a maximum term of life imprisonment, and a term of supervised release of

   not more than five (5) years (CR Dkt. 232 at 2; CR Dkt. 406 at 14). Petitioner was only

   sentenced to a term of 262 months imprisonment (CR Dkt. 359 at 2). The Government did

   not file an appeal. Thus, Petitioner’s waiver of his right to challenge the guidelines sentence

   is controlling. See Williams, 396 F.3d at 1342. See also United States v. Weaver, 275 F.3d

   1320, 1333 (11th Cir. 2001). In United States v. Jones, the Eleventh Circuit stated:

           [W]e have consistently considered written plea agreements to be part of the
           record of the Rule 11 hearing. See United States v. Hourihan, 936 F.2d 508,
           (11th Cir. 1991); United States v. Bell, 776 F.2d 965, 969 (11th Cir. 1985),

           1
             Title 21 U.S.C. § 841 provides, in relevant part, that “it shall be unlawful for any person knowingly or
   intentionally– (1) to manufacture, distribute, or dispense, or possess with intent to manufacture, distribute, or
   dispense, a controlled substance; . . . any person who violates subsection (a) of this section shall be
   sentenced as follows: In the case of a violation of subsection (a) of this section involving– . . . (viii) 5 grams
   or more of methamphetamine, its salts, isomers, and salts of its isomers or 50 grams or more of a mixture or
   substance containing a detectable amount of methamphetamine, its salts, isomers, or salts of its isomers;
   such person shall be sentenced to a term of imprisonment which may not be less than 5 years and not more
   than 40 years. If any person commits such a violation after a prior conviction for a felony drug offense has
   become final, such person shall be sentenced to a term of imprisonment which may not be less than 10 years
   and not more than life imprisonment . . . . [A]ny sentence imposed under this subparagraph shall, in the
   absence of such a prior conviction, include a term of supervised release of at least 4 years in addition to such
   term of imprisonment and shall, if there was such a prior conviction, include a term of supervised release of
   at least 8 years in addition to such term of imprisonment.” 21 U.S.C. § 841(b)(1)(B)(viii). Pursuant to 21
   U.S.C. § 846, “[a]ny person who attempts or conspires to commit any offense defined in [the Controlled
   Substances Act] shall be subject to the same penalties as those prescribed for the offense, the commission
   of which was the object of the attempt or conspiracy.”


                                                           5
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 6 of 8 PageID 629



          cert. denied, 477 U.S. 904, 106 S.Ct. 3272, 91 L.Ed.2d 563 (1986). See also
          United States v. Padilla, 23 F.3d 1220, 1221-22 (7th Cir. 1994) (looking to
          written plea agreement to determine if defendant knew of mandatory
          minimum sentence). We hold that where a signed, written plea agreement
          describing a mandatory minimum sentence is specifically referred to during
          a Rule 11 plea colloquy, the core principle that the defendant be aware of the
          consequences of his plea has been complied with [and] [t]he defendant's
          substantial rights were not violated.

   143 F.3d 1417, 1420 (11th Cir. 1998). Petitioner does not assert that he did not know that

   the appeal waiver was included in the plea agreement. The Court finds that a thorough

   Rule 11 colloquy was conducted, including a determination that Petitioner was competent

   at the time he entered his plea, a detailed review of the terms of the plea agreement, the

   charges and the consequences of those charges, the rights Petitioner was giving up under

   the agreement, including the right to appeal, directly or collaterally, the mandatory minimum

   sentence and maximum sentence, the factual basis for the charges, and the fact that

   Petitioner was entering his plea voluntarily and knowingly without any threats, force, or

   coercion, or any promises having been made to him that were not a part of the written plea

   agreement (CR Dkt. 406). Petitioner acknowledged under oath that he had read the plea

   agreement and understood the terms of the plea agreement. Id. at 16. When he executed

   the document, Petitioner certified that the he had read the agreement and understood the

   terms thereof. See CR Dkt. 232 at 17. The magistrate judge reviewed the appeal waiver

   provisions of the plea agreement with Petitioner during the Rule 11 colloquy (CR Dkt. 406

   at 11-12). After the Government made its proffer of evidence to support the charge,

   Magistrate Judge Jenkins asked Petitioner, “[a]re these facts true?” Petitioner responded:

   “[y]es, [m]a’am,” and immediately thereafter, Petitioner reaffirmed his desire to enter a plea

   of guilty to the conspiracy charge. Id. at 20-21. Having reviewed the transcript of the Rule

   11 colloquy and the plea agreement executed by Petitioner, the Court is satisfied that


                                                 6
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 7 of 8 PageID 630



   Petitioner understood the full significance of the waiver. Any initial misunderstandings

   Petitioner may have, in arguendo, had regarding the provisions of the plea agreement were

   cured during the Rule 11 colloquy. Because a defendant's statements concerning plea

   consequences at the time of plea are considered "persuasive evidence," they are not

   overcome later by the defendant's bald assertion of misunderstanding. Harvey v. United

   States, 850 F.2d 388, 396 (8th Cir. 1988). "[I]f the Rule 11 plea taking procedure is careful

   and detailed, the defendant will not later be heard to contend that he swore falsely." United

   States v. Stitzer, 785 F.2d 1506, 1514 n.4 (11th Cir.), cert. denied, 479 U.S. 823 (1986).

   Therefore, based on the record, the Court finds that petitioner's plea, including the waivers

   contained in the written plea agreement of his right to appeal and to collaterally attack his

   sentence, was knowing, intelligent, and voluntary.

          The claims Petitioner asserts in his § 2255 motion do not fall within the exceptions

   to his appeal waiver, which would have permitted him to appeal only an upward departure

   from his guidelines range, a sentence imposed in excess of the statutory maximum, or a

   sentence imposed in violation of law apart from the sentencing guidelines (CR Dkt. 232 at

   12). See United States v. Bushert, 997 F.2d at 1351 (court will enforce waivers of appeal

   if made knowingly and voluntarily).

          Statements by a defendant at the Rule 11 proceedings are accepted as conclusive

   unless he reasonably alleges why this should not be so. See United States v. Gonzalez-

   Mercado, 808 F.2d 796, 800 n.8 (11th Cir. 1997). Petitioner fails to meet this burden.

   There is nothing in the record to overcome the persuasive evidence of Petitioner's

   statements at the plea hearing. Petitioner cannot circumvent the terms of his plea

   agreement merely because he does not like the outcome at sentencing. See Bushert, 997

   F.2d at 1350.

                                                 7
Case 8:01-cr-00443-JSM-E_J Document 450 Filed 07/18/05 Page 8 of 8 PageID 631



            Enforcing the appeal waiver is merely holding Petitioner to the bargain he made.

   Petitioner has had the benefit of his bargain. The Government is likewise entitled to the

   benefit of its bargain. Petitioner was not promised anything that he did not receive, and he

   has received no punishment greater than that originally assigned him in the plea

   agreement.

                                            Conclusion

            For the foregoing reasons, the Court finds that Petitioner has failed to demonstrate

   that he is entitled to the relief he seeks in his § 2255 motion.

            ACCORDINGLY, the Court ORDERS that:

            1.     Petitioner’s motion to vacate, set aside, or correct an allegedly illegal

                   sentence (CV Dkt. 1) is DENIED.

            2.     The Clerk is directed to enter judgment against Petitioner, terminate any

                   pending motions, and close this case.

            DONE and ORDERED in Tampa, Florida on July 18, 2005.




   Copies furnished to:
   Counsel/Parties of Record

   SA:jsh




                                                  8
